        Case 8:24-cv-01205-ABA          Document 35   Filed 07/10/24    Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                                             *
Lester Lee                                   *
                             Plaintiff(s)    *
                                             *
                       vs.                   *    Civil Case No.: 8:24−cv−01205−TJS
                                             *
Brookside Park Condominiums, Inc., et        *
al.
                       Defendant(s)          *



                                   NOTICE OF DEFAULT


To Charles Lamont Savoy:
      You are hereby notified that an order of default was entered against you in this Court
on 7/10/2024. You have thirty (30) days from this date to file a motion to vacate the order
of default. If you do not take action by this date, the Court will act promptly on any
pending motions for entry of default judgment, which may result in a monetary judgment
against you.


                                                 CATHERINE M. STAVLAS, CLERK


July 10, 2024                                    By: T. Derro
Date                                             Deputy Clerk
